          Case 2:09-cr-00103-JCC          Document 109        Filed 02/17/11      Page 1 of 2




 1

 2

 3

 4

 5

 6                        UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
     UNITED STATES OF AMERICA,                            NO. CR09-103-JCC
 8

 9                                 Plaintiff,

10          v.
                                                          DETENTION ORDER
11   GUSTAVO GUERRA,
12
                                   Defendant.
13

14   Offenses charged:
15          Count 1:              Conspiracy to Distribute a Controlled Substance, in violation of
                                  21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846
16

17          Count 2:              Conspiracy to Engage in Money Laundering, in violation of 18
                                  U.S.C., §§ 1956(h)
18
     Date of Detention Hearing: February 16, 2011
19
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
20
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
21
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
23
                    defendant is a flight risk and a danger to the community based on the nature of
24
                    the pending charges. Application of the presumption is appropriate in this case.
25

26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 1
         Case 2:09-cr-00103-JCC        Document 109        Filed 02/17/11      Page 2 of 2




 1
           3.    Defendant has stipulated to detention, but reserves the right to contest his
 2
                 continued detention if there is a change in circumstances.
 3
           4.    There are no conditions or combination of conditions other than detention that
 4
                 will reasonably assure the appearance of defendant as required or ensure the
 5
                 safety of the community.
 6
           IT IS THEREFORE ORDERED:
 7
           (1)   Defendant shall be detained and shall be committed to the custody of the
 8
                 Attorney General for confinement in a correction facility separate, to the extent
 9
                 practicable, from persons awaiting or serving sentences or being held in custody
10
                 pending appeal;
11
           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
12
                 counsel;
13
           (3)   On order of a court of the United States or on request of an attorney for the
14
                 government, the person in charge of the corrections facility in which defendant
15
                 is confined shall deliver the defendant to a United States Marshal for the
16
                 purpose of an appearance in connection with a court proceeding; and
17
           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
18
                 counsel for the defendant, to the United States Marshal, and to the United States
19
                 Pretrial Services Officer.
20
           DATED this 16th day of February, 2011.


                                                A
21

22
                                                JAMES P. DONOHUE
23                                              United States Magistrate Judge
24

25

26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 2
